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Paul B. Justi (SBN 124727)

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Attorney for Class Member and Objector
DAN L. WILLIAMS & CO.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

Case No.: 3:07-cv-05944-JST

Tn re: MDL No.: 1917

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CATHODE RAY TUBE (CRT) ANTITRUST ) NOTICE OF APPEAL AND
LITIGATION ) REPRESENTATION STATEMENT
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NOTICE OF APPEAL

Notice is hereby given that Class Member and Objector, Dan L. Williams & Co, in the
above named case appeals to the United States Court of Appeals for the Ninth Circuit from (1
the Order Granting Final Approval of Indirect Purchaser Settlements entered on July 7, 2016
(Docket 4712); (2) the Final Judgment of Dismissal with Prejudice as to the Philips, Panasonic,
Hitachi, Toshiba, Samsung SDI, Thomson, and TDA Defendants entered July 14, 2016 (Docket

4717); and (3) the Order on Attorneys’ Fees, Expenses, and Incentive Awards Re: Indirect

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Purchaser Plaintiff Settlements entered on August 3, 2016 (Docket 4740). A copy of each of
these orders is attached hereto.
DATED: August 5, 2016. Respectfully submitted,

LAW OFFICES OF PAUL B. JUSTI

/s/ Paul B. Justi
Paul B. Justi

Counsel for Class Member and Objector
Dan L. Williams & Co.

REPRESENTATION STATEMENT

The undersigned represents Objector-Appellant, Dan L. Williams & Co. In the interests
of judicial economy, reference is made to the District Court’s docket for a complete list of parties

and counsel. That list is attached hereto.

Respectfully submitted,

/s/ Paul B. Justi
Paul B. Justi

Counsel for Class Member and Objector
Dan L. Williams & Co.

NOTICE OF APPEAL AND REPRESENTATION STATEMENT - 2

